JS 45 (1/ 96) Electronic Version
                                                       Criminal Case Cover Sheet- U.S. District Court

  Place of Offense:               Related Case Information:
                                                                                21             CR 02 4 WMC
               City: Rio              Superseding              Docket Number
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   County /Parrish: Columbia       Same Defendant _ _ _ _             New Defendant
                    - - - -- - --
                                          Magistrate Judge Case Number 20-mid7Jrl ·? ,--,---·r.1
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                                                              Search Warrant Case Number
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                                                                 R 20 / R40 from District of   '-( (:(,>:          'J'Zf';
                                                                                                   cp/r~r .
Defendant information:                                                                             k   u0 (.·,·, ;;e, t/_ {)
                  Matter to be Sealed _ _ _ Yes                               ✓   No                "l''~}f;.L,:. ~. ··2J>
  Def. Name: Stephen J. Robeson                                                                             I/,,   <-,:/; ,.,;
                                                                                                                           ·,
   Alias Name:                                                                                                            ,.
       City/State: Oxford, WI
 Year of Birth: 1963                               Last 4 digits of SSN
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               Sex: Male                           Race: White


U.S. Attorney Information:
              ELIZABETH ALTMAN                                     Bar#:
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 Interpreter:      No       Yes                      List language and/ or dialect:
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Location Status:
Arrest Date:
               Already in Federal Custody as of:                       in
               Already in State Custody
               On Pretrial Release


U.S.C. Citations:
Total# of Counts:             1                       Petty                 Misdemeanor                      ✓        Felony
                                                                            Class A
                                                                            Class B
                                                                            Class C

                 Index Key/Code                      Description of Offense Charged                                Counts(s)
Set 1    18 U.S.C § 922(g)(l)             Felon in possession of a firearm                                                1
Set 2
Set3
Set4
SetS
Set6



Date:      February 10, 2021                Signature         / s/          ELIZABETH ALTMAN
